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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                   LONDON DIVISION

    UNITED STATES OF AMERICA,                     )
                                                  )
          Plaintiff,                              )       Criminal Action No. 6: 04-73-S-DCR
                                                  )
    V.                                            )
                                                  )
    VERNON MARSEE,                                )         MEMORANDUM OPINION
                                                  )             AND ORDER
          Defendant.                              )

                                        *** *** *** ***

         This matter is pending for consideration of the parties’ briefs regarding the issue of

whether Defendant Vernon Marsee is competent to stand trial. The parties’ initial briefs were

filed on April 11, 2006. Counsel for the Defendant then filed a reply brief April 18, 2006.

Having reviewed these materials as well as the reports of the examining psychologists, and being

otherwise sufficiently advised, the Court finds that the Defendant is competent to stand trial,

provided that certain accommodations are made during the course of trial.

         I.     BACKGROUND

         On October 7, 2004, Benny Neeley was indicted for engaging in a continuing criminal

enterprise (“CCE”), conspiracy to distribute over 100 kilograms of marijuana and conspiracy to

commit money laundering. On February 24, 2005, a superceding indictment was returned

adding Vernon Marsee and Teri Marsee to the above referenced counts.1 Subsequently, on May

18, 2005, counsel for Vernon Marsee moved the Court to order a competency evaluation for his


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         Teri Marsee was not included in the CCE count.

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client. The Court granted the motion and ordered that an evaluation of Vernon Marsee be

performed at a facility to be designated by the Attorney General.

       An examination was conducted at the Federal Medical Center in Lexington, Kentucky

by Karen Milliner, a Forensic Psychologist, and Michael Helvey, Chief Psychologist at the

facility. Their report was filed on November 8, 2005. In the report, the psychologists noted that

they performed a number of psychological tests on the Defendant but were “unable to directly

confirm or disconfirm the veracity of the reported amnesia for the period of the alleged offense.”

[Drs. Milliner/Helvey Report, p. 7] They noted that the Defendant reported amnesia for

approximately seven years prior to the injury (gunshot wound to the head) and two months

following the injury. [Drs. Milliner/Helvey Report, p. 4] The report further indicates that the

Defendant specifically stated that he had no recollection of the time period during which the

events alleged in the indictment took place. [Drs. Milliner/Helvey Report, p. 4]

       Drs. Milliner and Helvey opined that “such an extensive period of amnesia is not

probable, and is not common even among persons suffering traumatic brain injury, but it is

certainly possible.” [Drs. Milliner/Helvey Report, p. 7]        However, they noted that the

“[p]sychological testing provided no indication that Mr. Marsee was feigning or intentionally

exaggerating his cognitive impairments.” [Drs. Milliner/Helvey Report, p. 7]

       Regarding the issue of the Defendant’s competency to stand trial, Dr. Milliner and Dr.

Helvey concluded that Marsee was “not currently suffering from a mental disease or defect

rending him mentally incompetent to the extent he is unable to understand the nature and




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consequences of the proceeding against him or properly assist in his defense.2” [Drs.

Milliner/Helvey Report, p. 13] Specifically, they opined that, assuming that the Defendant’s

memory for the alleged offenses is not essential to the proceedings, he is competent to stand trial.

[Drs. Milliner/Helvey Report, p. 13]

        After reviewing Dr. Milliner and Dr. Helvey’s report, counsel for the Defendant filed a

motion for a second psychological evaluation. The parties agreed to an evaluation by C.

Christopher Allen, a licensed clinical psychologist. Dr. Allen examined the Defendant and filed

his report on February 29, 2006. He noted that the Defendant had “an adequate general

understanding of the charges against him, as well as of possible penalties that he may face should

he be convicted.” [Dr. Allen Report, p. 5] However, Dr. Allen opined that the Defendant’s

“ability to participate meaningfully in his own defense [was] compromised by two factors.” [Dr.

Allen Report, p. 5] Specifically, he noted that:

        [Marsee’s] inattention and inability to immediately recall new information greatly
        decreases his ability to attend to and retain information presented in court, as well
        as by his legal counsel. This greatly decreases his attorney’s ability to mount an
        appropriate defense in his behalf, as well as Mr. Marsee’s ability to evaluate court
        proceedings and make appropriate decision. Significant accommodations would
        be necessary in order for Mr. Marsee to have an adequate understanding of the
        proceedings in order to make rational judgments with regard to the legal
        proceedings in this case . . . A second, and perhaps more important factor,
        affecting the patient’s competency to stand trial is his lack of memory for the
        period of time which the alleged offenses occurred.

Dr. Allen acknowledged that “retrograde amnesia of six to eight years as reported by Mr. Marsee

is extremely unusual.” [Dr. Allen Report, p. 5] However, he specifically noted that, Count 1 of



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         The examiners also concluded that the Defendant was not suffering from a severe mental disease or
defect rendering him unable to appreciate the nature and quality or the wrongfulness of his acts.

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the indictment is alleged to have occurred approximately one month following the gunshot

wound and that the Defendant’s inability to recall information regarding that count is “quite

predictable” given the severity of the gunshot wound. [Dr. Allen Report, p. 5] Dr. Allen

conceded, however, that “Mr. Marsee’s report regarding his symptoms and period of amnesia

. . . could conceivably contain elements of exaggeration.” [Dr. Allen Report, p. 5] Based on

these findings, Dr. Allen concluded that:

       [the Defendant’s] competency to stand trial should be considered questionable at
       best based upon his inability to appropriately participate in his own defense both
       in terms of reduced attention, memory and problem-solving within the context of
       court proceedings themselves, as well as his viable contention of an inability to
       remember facts surrounding the criminal activity secondary to his gunshot wound
       to the head in February of 2004, and particularly event following his incident.

[Dr. Allen Report, p. 5]

       On March 21, 2006, the Court held a scheduling conference to discuss dates upon which

to conduct a competency hearing. At that time, the parties advised the Court that they were

willing to rely on the reports prepared by the psychologists who evaluated the Defendant. The

parties further requested that they be allowed to file briefs on the issue of the Defendant’s

competency. They agreed that the matter would then be submitted to the Court for a

determination on the issue of the Defendant’s competency to proceed to trial. The matter is now

ripe for review.

       II.    ANALYSIS

       If a court finds by a preponderance of the evidence that a defendant is mentally

incompetent, that defendant may not stand trial. 18 U.S.C. § 4241. In Dusky v. United States,

362 U.S. 402 (1960), the Supreme Court set forth a two-prong test for determining whether a


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defendant is competent to proceed to trial. The Court must consider “(1) whether [the defendant]

has sufficient present ability to consult with his lawyer with a reasonable degree of rational

understanding; and (2) whether he has a rational as well as factual understanding of the

proceedings against him.” Id.; see also Dye v. Cowan, 472 F.2d 1206, 1207 (6th Cir. 1972);

Filiaggi v. Bagley, ____ F.3d ____, 2006 WL 954188 (6th Cir. April 14, 2006) (citing Dusky,

362 U.S. at 402).

       Here, the court must determine whether the Defendant’s memory loss renders him unable

to satisfy the two-prong test of Dusky. As a general rule, amnesia (or memory lapses) which

prevents a defendant from recalling the events for which he is charged will not automatically

render him incompetent to stand trial. See Dye, 472 F.2d 1206; see also United States v. Doke,

171 F.3d 240, 248 (5th Cir. 1999) (amnesia by itself does not render a defendant incompetent);

Davis v. Wyrick, 766 F.2d 1197, 1202 (8th Cir. 1985) (“[a]mnesia alone is not a bar to the

prosecution of an otherwise competent defendant”); United States v. Borum, 464 F.2d 896, 900

(10th Cir. 1972) (rejecting the argument that trying an amnesiac defendant is a per se deprivation

of due process); United States v. Stevens, 461 F.2d 317, 320 (7th Cir. 1972) (stating that “we do

not believe that due process requires that every defendant who claims loss of memory go free

without trial”); United States v. Sullivan, 406 F.2d 180, 186 (2nd Cir. 1969) (refusing to hold

that memory loss “is in all cases an automatic bar to prosecution for a crime amply established

by competent evidence on trial”); Wilson v. United States, 391 F.2d 460, 464 n. 4 (D.C. Cir.

1968) (noting that a defendant’s awareness of his whereabouts and activities at the time of the

crime is not an essential ingredient of competence).



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        Some courts have listed specific factors for the court to consider in making this fact-

specific competency determination. These factors include, but are not limited to,3 the following:

(1) whether the defendant has any ability to participate in his defense; (2) whether the amnesia

is temporary or permanent; (3) whether the crime and the defendant’s whereabouts at the time

of the crime can be reconstructed without his testimony; (4) whether the government’s files will

be of assistance in preparing the defense; (5) whether there is strong evidence demonstrating that

the amnesia is real and not feigned; and (6) whether the government’s case is strong or weak.

See United States v. Villegas, 899 F.2d 1324, 1341 (2nd Cir. 1990); United States v. Swanson,

572 F.2d 523, 526-27 (5th Cir. 1978); United States v. Rinchack, 820 F.2d 1557, 1569 (11th Cir.

1987). While these factors have a bearing on whether an amnesiac defendant is competent to

proceed to trial, no particular set of factors is determinative. Rather, the court must engage in

a fact-specific inquiry which encompasses a review of the totality of the circumstances and

varies depending on the crime and the circumstances of each individual case. Dye, 472 F.2d

1206; see also Swanson, 572 F.2d at 526; Sullivan, 406 F.2d at 180; Stevens, 461 F.2d at 319-20,

cert. denied, 409 U.S. 948 (1972); U. S. ex rel. Parson v. Anderson, 481 F.2d 94 (3rd Cir. 1973),




3
         In Wilson, the District of Columbia Circuit listed a different set of facts. Specifically, court stated
that, in determining whether a defendant’s memory loss precludes his prosecution, the trial court should
consider: (1) the extent to which the amnesia affected the defendant's ability to consult with and assist his
lawyer; (2) the extent to which the amnesia affected the defendant's ability to testify on his own behalf; (3)
the extent to which the evidence in the suit could be extrinsically reconstructed in view of the defendant’s
amnesia, including evidence relating to the crime itself as well as any reasonably possible alibi; (4) the extent
to which the government assisted the defendant and his counsel in that reconstruction; (5) the strength of the
prosecution's case; and (6) any other facts and circumstances that would indicate whether or not the defendant
had a fair trial. Id.


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cert. denied, 414 U.S. 1072 (1973); Dhaemers v. Minnesota, 456 F.2d 1291 (8th Cir. 1972);

Borum, 464 F.2d at 898-99.

       In the present case, both examining psychologists agree that the Defendant has an

adequate understanding of the charges against him as well as an understanding of the possible

penalties he may face if convicted. Specifically, Drs. Milliner and Helvey noted that:

       during legally focused interviews with the examiner over the course of the
       evaluation, Mr. Marsee verbalized a factual and rational understanding of his
       pending legal proceedings. Mr. Marsee expressed a good understanding of basic
       legal concepts and the nature of legal proceedings in general, and demonstrate an
       ability to apply this knowledge to the facts of his own case. He spoke clearly,
       coherently, rationally, and sensibly about his case and there was no indication he
       would not be able to do so with his attorney. Despite his cognitive limitations,
       there was no real indication from the information gathered [that] Mr. Marsee does
       not possess sufficient understanding of his legal situation, reasoning ability or
       capacity for communicating with his attorney to establish his present competency.

[Drs. Milliner, Helvey report, p. 10] Similarly, Dr. Allen found that:

       Mr. Marsee has an adequate knowledge of the legal system and understanding of
       court procedure so as to be competent to stand trial accounts against him. He,
       moreover, seems to have an adequate general understanding of the charges against
       him, as well as of possible penalties that he may face should he be convicted.

[Dr. Allen Report, p. 5] Likewise, both examiners agree that the Defendant has memory loss

which affects his ability to recall at least some of the facts surrounding the alleged criminal

activity. However, they acknowledge that they are unable to determine the extent of his memory

loss. In contrast, the psychologists disagree regarding how the Defendant’s memory loss affects

his ability to assist in his defense and, ultimately, his competency to stand trial.

       Drs. Milliner and Helvey concluded that, unless the court finds that the Defendant’s

memory for the alleged offense is essential to the proceedings, he is competent to stand trial.



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[Drs. Milliner/Helvey Report, p. 13] In reaching this conclusion, Drs. Milliner and Helvey relied

primarily on the fact that he “displayed a factual and rational understanding of the proceedings

against him and demonstrated sufficient present ability to consult with his attorney with a

reasonable degree of rational understanding.” [Drs. Milliner/Helvey Report, p. 13] Drs. Milliner

and Helvey noted that the Defendant has some cognitive impairments but that “the detrimental

impact of these deficits” on his ability to stand trial can be alleviated by making accommodations

for him. [Drs. Milliner/Helvey Report, p. 12] Thus, Drs. Milliner and Helvey suggested, inter

alia, that the Court take frequent breaks, slow down the proceedings, and educate the jury that

Marsee’s testimony could be impacted by his memory loss. [Drs. Milliner/Helvey Report, p. 13]

Conversely, Dr. Allen opined that Mr. Marsee’s competency to stand trial is “questionable at

best.” [Dr. Allen Report, p. 5] He states that even with extensive accommodations, Marsee’s

lack of memory of the facts surrounding the alleged criminal activity calls into question his

ability to assist in his defense. [Dr. Allen Report, p. 5]

       Initially, the Court notes that a review of the psychologists’ reports reveals that although

the Defendant suffers from some memory loss, he may have exaggerated the extent of his

memory loss. Given that some of the alleged criminal activity is alleged to have occurred in

close proximity of his gunshot wound, it is certain believable that the Defendant has no memory

of some the facts surrounding that alleged criminal activity. However, the Court questions

whether he truly is unable to remember any facts relating to the alleged criminal activity.

       The indictment charges that the alleged criminal activity occurred as early as January

2001, while the gunshot incident did not occur until February 2004. Given the examiners



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opinions that a period retrograde amnesia as alleged by the Defendant (for a period of six to eight

years prior to the gunshot incident) is “extremely unusual” and “not probable,” the Court finds

that the Defendant may be exaggerating the extent of his memory. [Drs. Milliner/Helvey Report,

p. 7; Dr. Allen Report, p. 5]

       Even if the Defendant’s reported loss of memory (i.e., for a period of six to eight years

prior and two months following the gunshot incident) is a genuine loss of memory, the Court

notes that the examiners’ reports reveal that he understands the nature and consequences of the

proceedings against him. Likewise, he has the present ability to communicate with his attorney

and to discuss tactical trial decisions with him. While the Defendant’s memory loss may prevent

him from testifying at trial or providing his attorney with information that would form a defense,

he is no more disadvantaged than other defendants who have either suffered memory loss or

whose defenses may be impaired by other losses of evidence. See Stevens, 461 F.2d at 320

(endorsing view that an amnesiac’s situation differs very little from a defendant who was home

alone, asleep in his bed, at the time of the crime, or from a defendant whose only witnesses die

or disappear before trial); see also Anderson, 354 F. Supp. at 1071-74 (the “defendant’s

recollection is only one of many sources of evidence which may permit the reconstruction of a

past event and that extrinsic evidence far more valuable to the defense than the defendant’s own

testimony may be lost by reason of death, destruction or other fortuity prior to trial”), aff’d, 481

F.2d 94 (3rd Cir. 1973), cert. denied, 414 U.S. 1072 (1973).




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         In addition, the United States, through discovery, has provided defense counsel with

substantial evidence4 to support the charges contained in the indictment. Specifically, the United

States has provided the interview summaries (DEA-6 interview reports) of several witnesses,

including Tammie Thacker, Sherman McCulley, Sandra McCulley, Justin McCulley and Teri

Webb. These reports indicate that, on several occasions, these individuals were directed by the

Defendant (and his co-Defendants) to wire money to Brownsville, Texas and to receive packages

which they believed contained marijuana. The United States has also provided documents

including toll records, Western Union records, UPS records and other receipts. The United

States claims that it will be able to prove at trial that for a period of over two years, the

Defendant had associates, friends, and family members wire approximately $115,300 for the

purchase of marijuana.

         Counsel for the Defendant acknowledges that he has been provided with “substantial

discovery” in this case, some of which implicate his client in the charges contained in the

indictment. Specifically, he notes that some of the Western Union logs reflect that person named

“Vernon Marsee” wired several thousand dollars to individuals in Brownsville, Texas.

Moreover, he acknowledges that he has been provided with interview summaries from various

witnesses, including alleged co-conspirators, that implicate Marsee. Although the Defendant

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         One of the factors that the Court may consider in determining whether Marsee’s amnesia renders him
incompetent to stand is the strength of the United States case against him. However, as previously noted, no
one set of factors is determinative of the issue. Rather, the court must engage in a fact-specific inquiry which
encompasses a review of the totality of the circumstances. At this point, the Court cannot opine as to the
strength of the government’s case. Thus, the Court chooses not to discuss this factor. Moreover, a recent
Supreme Court decision calls into question the constitutionality of this factor. See Holmes v. South Carolina,
___ U.S. ____, 126 S. Ct. 1727 (2006) (holding that a criminal defendant’s federal constitutional rights are
violated by an evidence rule under which the defendant may not introduce evidence of third-party guilt if the
prosecution has introduced forensic evidence that, if believed, strongly supports a guilty verdict).

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reportedly has no conscious memory of the alleged criminal activity, it appears that by using the

evidence provided by the United States his counsel can reconstruct the alleged crime or crimes

without his testimony. See Anderson, 354 F. Supp. 1060, 1071-74 (D. Del. 1972) (holding that

the defendant’s recollection is only one of many sources of evidence which may permit the

reconstruction of a past even an that extrinsic evidence far more valuable to the defense than the

defendant’s own testimony), aff’d, 481 F.2d 94 (3rd Cir. 1973), cert. denied, 414 U.S. 1072

(1973). Counsel for the Defendant can conduct his own independent investigation and can cross

examine the witnesses presented by the United States at trial and explore their knowledge of or

participation in the scheme.

       After reviewing the reports of the examining psychologists and the briefs of the parties,

the Court finds that the Defendant possesses a “sufficient present ability to consult with his

lawyer with a reasonable degree of rational understanding” and has a “rational as well as factual

understanding of the proceedings against him.” Dusky, 362 U.S. at 402. Additionally, the Court

finds that counsel for the Defendant has been provided sufficient evidence by the United States

to reconstruct the events alleged in the indictment and to cross-examine witnesses at trial, even

without the Defendant’s specific recollection of events. While the Court acknowledges that the

gunshot incident has left the Defendant with memory and information processing deficits, the

Court does not believe that these deficits render him incompetent to stand trial.

       The Court does find that the Defendant should be provided with reasonable

accommodations to aid him at trial. While the Court acknowledges that Dr. Allen questioned

whether any accommodations would assist the Defendant in understanding the court procedures,



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the Court believes that the accommodations suggested by Drs. Milliner and Helvey are

appropriate in this case. This Sixth Circuit has not addressed the issue of accommodations, but

other courts have discussed it in the context of a defendant’s competency to stand trial.

       In United States v. Glover, 596 F.2d 857, 864-65 (9th Cir. 1979), the defendant had an

intelligence level that fell at the lowest 1% of society, had memory problems, and suffered from

a short attention span. Experts opined that the defendant would only be competent to stand trial

if questions, terms, and proceedings were explained to him in very simple terms, using concrete

examples. Id. at 865. The Ninth Circuit upheld a finding of competence, stating that “[t]he fact

that a defendant might not understand the proceedings unless they are explained to him in simple

language would put an additional burden upon counsel, but certainly does not establish that the

defendant is incompetent to stand trial.” Id. at 867; see also United States v. Butterfly, 1995 WL

729484, 72 F.3d 136 (9th Cir. 1995) (Despite expert testimony that the defendant’s mental

defects would prevent him from being able to interpret witness testimony, the defendant was

found competent where the court “promised to proceed slowly and provide frequent breaks so

that his attorney could explain the proceedings to him.”). Likewise, the Court is persuaded by

the reasoning of the Eleventh Circuit which stated that “[e]ven perfectly competent defendants

often do not fully comprehend the intricacies of some of the defensive theories offered by their

lawyers. That level of comprehension is not a requirement of competency.” See United States

v. Hogan, 986 F.2d 1364, 1373 (11th Cir. 1993).              The Court will address specific

accommodations to be made in this case at the pretrial conference to be held prior to trial.

       III.    CONCLUSION



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       For the reasons discussed herein, it is hereby ORDERED as follows:

       1.     The Court finds and concludes based on the foregoing analysis that Defendant

Vernon Marsee is competent to stand trial.

       2.     A final pretrial conference shall be held on Wednesday, June 5, 2006, beginning

at the hour of 11:30 a.m., at the United States District Court in London, Kentucky. Trial by jury

shall commence on June 20, 2006, at 9:30 a.m., at the United States District Court in London,

Kentucky. Counsel shall be present at 9:00 a.m.

       This 22nd day of May, 2006.




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